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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION
                        CASE NO. 09-20673-CR-GRAHAM

   UNITED STATES OF AMERICA

                   Plaintiff,

   vs.

   REGINALD SHERONDO DAWSON,

                 Defendant.
   __________________________/


          ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

          THIS CAUSE came before the Court upon the Defendant’s
   request to enter a plea of guilty before a Magistrate Judge.
         THE MATTER was referred to Magistrate Judge Edwin G. Torres,
   on May 5, 2010. A Report and Recommendation filed on May 28, 2010
   Recommended that the Defendant’s plea of guilty be accepted. The
   Defendant and the Government were afforded the opportunity to
   file objections to the Report and Recommendation, however, none
   were filed. The Court has conducted a de novo review of the
   entire file. Accordingly, it is
          ORDERED AND ADJUDGED that the Report and Recommendation of
   United States Magistrate Judge Edwin G. Torres, is hereby Adopted
   and Approved in its entirety. The Defendant is adjudged guilty as
   to Count Forty-nine of the Indictment.


         DONE AND ORDERED in Chambers at Miami, Florida, this 19th
   day of July, 2010.


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                                        DONALD L. GRAHAM
                                        UNITED STATES DISTRICT JUDGE
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   Copied: Magistrate Judge Torres
           Andrea Hoffman, AUSA
           Israel J. Encinosa, Esq.
